Case 4:20-cv-05640-YGR Document 376-2 Filed 03/19/21 Page 1 of 5




                  Ex. 02
  Susan Athey Opening Opinion Summaries
           Case 4:20-cv-05640-YGR Document 376-2 Filed 03/19/21 Page 2 of 5




III. SUMMARY OF OPINIONS

17.        Today, the market for mobile smartphone operating system platforms is a duopoly, with market leaders
Apple and Android together accounting for almost 100% of mobile smartphone revenue share outside of
China. Mobile platform competition is influenced by the presence of indirect network effects, whereby users
gain value from having access to applications (apps) on a platform, and app developers profit from reaching a
given platform’s user base.

18.        Mobile platform users today rely on a large number and variety of apps. There are often direct network
effects among users of an app that, in the absence of impediments, extend across different platforms (e.g., for
networked games). Further, groups of users such as families often share subscriptions to apps and wish to
coordinate on a particular app for collaboration. A large share of users (or their families) have existing
relationships with one of the two dominant mobile platforms as well as with a number of specific apps. A user
who considers leaving one platform and joining another faces app-related switching costs, including the costs
of migrating and synchronizing her apps, purchases 3 and app data (and, in many cases, the costs of re-
purchasing apps on the new platform).

19.        User switching costs and mixing-and-matching costs reduce competition between mobile platforms
and thus allow platforms to exert market power over both users and developers. The fact that app developers
typically cannot induce users to switch platforms increases the market power platforms exert over developers.
Developers have incentives to reduce user switching costs and mixing-and-matching costs, particularly where
network effects or interoperability are important. However, developers face several frictions in doing so,
including the fixed cost investments required to create the functionality to recognize users, their purchases
and their data across platforms.




3   By purchases I am referring to both app store purchases and in-app purchases.


                                                          7                          Expert Report of Susan Athey
        Case 4:20-cv-05640-YGR Document 376-2 Filed 03/19/21 Page 3 of 5




20.     Developers also incur costs of creating apps for an initial platform and porting them to additional
platforms. There are further costs of maintaining and improving apps, some of which are platform-specific.
Platform-specific investments will be worthwhile only if the platform’s user base is large enough relative to
these costs. This leads to a chicken-and-egg problem, where new platforms face a substantial “App Barrier to
Entry.” The history of failed entry attempts, despite large investments by major companies, underscores these
barriers. These barriers further allow the incumbent platforms to maintain their market power.

21.     Middleware can meaningfully reduce such user and developer costs, and thereby lessen mobile
platforms’ market power over users and developers and enable nascent competitive threats to emerge. Apple
imposes a set of technical and contractual restrictions that block critical categories of middleware, interfering
with the competitive process and maintaining the market power of the iOS Platform.4 Specifically, Apple
restricts developers’ ability to use an independent Multi-Platform App Store, a multi-platform in-app payment
system, or a cross-platform game or app streaming platform on iOS.

22.     Middleware such as a Multi-Platform App Store can reduce user switching and mixing-and-matching
costs across platforms, facilitate developer cross-platform support for user switching and mixing-and-
matching, and reduce developer multi-homing costs. It does so by providing developers with technologies
that work across platforms, which replace platform-specific technologies and reduce the costs of porting
and multi-homing to smaller platforms. This improves welfare for users – for example, by enabling a family
to purchase lower cost secondary devices for children without incurring app-related switching or mixing-
and-matching costs.

23.     In this way, middleware (e.g., a Multi-Platform App Store) is both a nascent competitive threat in the
marketplace and can enable additional nascent competitive threats to emerge. To unleash the competitive
process, middleware must first succeed in attracting an initial set of users and developers. Because middleware
initially operates on existing platforms, it does not have to overcome the full chicken-and-egg problem (App
Barrier to Entry) that new mobile platforms face. Users of the existing platforms can gradually transition to
using apps based on middleware without switching their device or platform, and thus without giving up their




4 I understand that Dr. Evans has concluded that Apple has substantial market power over iOS Platform app users
and developers in the smartphone operating system market, and that Apple’s conduct has effects on the market for
the distribution of iOS apps and the market for payment processing for iOS apps. See the Expert Report of David
S. Evans, Section V and Section VII.


                                                       8                            Expert Report of Susan Athey
         Case 4:20-cv-05640-YGR Document 376-2 Filed 03/19/21 Page 4 of 5



existing apps and services. Thus, middleware has the potential to succeed in attracting users and developers
even in a setting where entry of an entirely new mobile platform has proved extremely difficult.

24.      Once middleware succeeds in attracting users and developers in one category of app, it can expand
into additional categories of apps. The gradual expansion of the middleware can then enable entry from new
or smaller players in the mobile platform market. For example, Amazon, which already offers a low-cost tablet
using a forked version of Android, can potentially rely on a collection of middleware offering a critical mass of
cross-platform apps to enable user mixing-and-matching, and eventually switching. Families might initially
purchase a low-cost Amazon Fire Tablet as a child’s device, to enable sharing of apps and purchases with the
family’s Apple devices. Eventually the family might switch to owning more Amazon devices as the new platform
grows. Apple’s restrictions prevent this type of competitive process from unfolding.

25.      I demonstrate middleware’s benefits to users and developers using Multi-Platform App Stores as an
example. I review several Multi-Platform App Stores: Steam, the Epic Games Store (EGS), and GameClub. On
the user side, these app stores allow a single log-in5 feature and synchronize apps, purchases, and app local data
across any platform on which the Multi-Platform App Store exists. On the developer side, app stores such as
Steam, EGS, and GameClub provide developers with the infrastructure to enable users to more easily switch
and mix-and-match. They also allow developers to release their apps on multiple platforms without incurring
significant platform-specific upfront and ongoing development costs related to distribution and payment
processing. This infrastructure is particularly important for driving developer support for new or smaller
platforms. Apple’s restrictions exclude Multi-Platform App Stores like Steam and the Epic Games Store, and
Apple also restricts the functionality of GameClub on iOS.

26.      Similarly, Apple’s requirement that apps on iOS exclusively use Apple’s own in-app payment (IAP)
system for in-app purchases (other than physical goods) increases user switching costs and mixing-and-
matching costs and makes it more difficult for developers to offer cross-platform services to users that would
reduce these costs.

27.      Streaming platforms are another promising type of middleware that can serve as an alternative Multi-
Platform App Store. Streaming of apps with a streaming platform could provide the full experience of a typical
downloaded app but delivered instead from servers over the internet. Importantly, streaming app distribution
could reduce the friction of downloading apps. Streaming could increase the consumption of new apps in the



5 “Can I use my Steam account on other computers? You may use your Steam account on any machine which can
connect to the Steam network - Steam allows you to download and install any games registered to your account as
soon as you log in.” (Steam, “Can I use my Steam account on other computers?,"
https://support.steampowered.com/kb_article.php?ref=8963-EIKC-3767#multiple, accessed January 31, 2021.)


                                                        9                            Expert Report of Susan Athey
         Case 4:20-cv-05640-YGR Document 376-2 Filed 03/19/21 Page 5 of 5



same way that streaming has increased the consumption of media content like music and video. For users,
streaming of apps could provides a way of accessing apps that work across platforms and device types, without
duplication of downloading or cumbersome and time-consuming management of purchases and subscriptions.
Streaming also reduces hardware requirements, enabling older and less expensive devices to achieve similar
functionality, thereby reducing the need for hardware upgrades or the purchase of expensive devices (e.g., for
children). For developers, a streaming platform could reduce the costs of porting and maintaining apps across
multiple platforms, since developers need only build or port their apps to a single cloud platform; from there,
the app is delivered to users across device types from cloud servers. Apple imposes restrictions on alternative
cross-platform app distributors that focus on streaming.

28.      If it were not impeded by Apple’s restrictions, middleware could have several pro-competitive effects.
First, it could significantly reduce user switching costs across platforms. Second, it could reduce user mixing-
and-matching costs. Third, it could facilitate developer investment in cross-platform services that facilitate user
switching and mixing-and-matching. Fourth, it could reduce developer porting and multi-homing costs,
particularly for new platforms.

29.     In turn, these effects would have the potential to: (1) mitigate Apple’s market power over users and
developers, (2) increase competition among mobile platforms on both quality and price, and (3) increase the
chance that mobile platform competitors could enter and/or gain traction (e.g., enable nascent competitive
threats). As a result of increased competition, we would expect greater innovation in middleware, including
developer services, app distribution services, and payments; in smartphone operating systems, hardware, and
apps; and in other adjacent markets that contribute to cross-platform and cross-device experiences for users.
The welfare benefits of these innovations would accrue to participants both inside and outside of Apple’s
platform.




                                                        10                            Expert Report of Susan Athey
